




NO. 07-01-0283-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



SEPTEMBER 20, 2001



______________________________





IN RE ENERGAS COMPANY, RELATOR





_________________________________





CONCURRING OPINION





Before BOYD, C.J., and QUINN and REAVIS, JJ.





I concur in the opinion and judgment of the majority but write separately to clarify my position regarding the absence of adequate legal remedy. &nbsp;&nbsp;That is, to win mandamus, the applicant must generally prove that 1) the trial court clearly abused its discretion and 2) the applicant lacks an adequate legal remedy. &nbsp;
Walker v. Packer
, 827 S.W.2d 833, 837(Tex. 1992). &nbsp;Here, we found that the trial court abused its discretion in permitting discovery with regard to request for production No. 24. &nbsp;This was so because the time period encompassed by the request was unrestricted. &nbsp;&nbsp;Having found that Energas Company satisfied the first prong of 
Packer
, we normally would be required to consider the second prong, 
i.e.
 the lack of adequate legal remedy. &nbsp;However, the Supreme Court in 
In re American Optical Corp.
, 988 S.W.2d 711 (Tex. 1998) granted mandamus under factual circumstances similar to those before us without first considering whether the applicant had an adequate legal remedy. &nbsp;Instead, it merely concluded that the trial court abused its discretion because the requests there at issue were not tied to any particular products or time periods. &nbsp;
Id.
 at 713. &nbsp;Then, it deigned to conditionally grant a writ of mandamus. &nbsp;
Id.
 at 714. &nbsp;&nbsp;Granting the writ simply after finding an abuse of discretion implies that one need not satisfy the second prong of 
Packer
 in circumstances like those before us. &nbsp;And, though I question the policy behind relieving one from satisfying both aspects of 
Packer
, we are nonetheless bound to follow the Supreme Court’s lead, as evinced in 
In re American Optical
. &nbsp;So, that is why I concur in the majority’s opinion.





Brian Quinn

 &nbsp;&nbsp;Justice

Publish.


